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                                    UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

RICARDO NOAIN,                                      §   CIVIL ACTION NO. 3:18-CV-1303-K
on behalf of himself and a class of those           §
similarly situated,                                 §
                                                    §
           Plaintiff,                               §
                                                    §
v.                                                  §          COLLECTIVE ACTION
                                                    §
RITRAN, INC., dba International                     §
House of Pancakes,                                  §
                                                    §
           Defendant.                               §

                                     JOINT MOTION FOR MODIFICATION OF
                                     CONDITIONAL CERTIFICATION ORDER

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

           Plaintiff Ricardo Noain (“Plaintiff” or “Noain”), individually and on behalf of a class of

similarly situated individuals, and Defendant Ritran, Inc. d/b/a/ International House of Pancakes

(“IHOP”) (together, the “Parties”) file this Joint Motion for Modification of the Court’s Order

dated August 28, 2018 granting conditional certification of this matter as a collective action and

directing that notice be mailed to potential class members (Doc. No. 16, the “Certification Order”).

The Parties would show the following:

                                            I.   BACKGROUND

           Plaintiff Noain, a former server at IHOP, initiated this action on behalf of himself and a

class of similarly situated individuals, alleging that IHOP did not pay them the minimum wage

and overtime pay to which they were entitled under the Fair Labor Standards Act, 29 U.S.C. § 201

et seq. (“FLSA”). IHOP denies Plaintiff’s allegations and maintains that it properly paid its servers

in accordance with the FLSA.



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           On August 28, 2018, the Court entered an Order conditionally certifying this matter as a

collective action and defining the class as “All current and former servers employed by IHOP at

2616 Ridge Road in Rockwall, Texas for the past three (3) years” (the “Class Members”). 1 The

Court directed IHOP to provide Plaintiff’s Counsel with a list of Class Members, and that

Plaintiff’s Counsel send the Class Members an approved Notice of their right to join the current

suit via mail. The Court denied Plaintiff’s request for Class Members’ telephone numbers to

facilitate notice, but indicated that Plaintiff could petition the Court for additional contact

information should notice by mail prove ineffective.

           The Parties have complied with the Court’s Order, and Plaintiff’s Counsel mailed the

approved Notices to Class Members on September 18, 2018. To date, Plaintiff’s Counsel have

identified twelve (12) Class Members who have not received notice of their right to join this action

because their mailed Notices were returned as undeliverable (the “Sub-Class Members”).

         II.        REQUEST FOR MODIFICATION OF THE CERTIFICATION ORDER

           The Parties have conferred on how to address the issue of lack of notice to the Sub-Class

Members. Accordingly, the Parties jointly request modification of the Certification Order to allow

additional contact as follows:

               1.     Within seven days of the Court’s Order granting this Joint Motion, Defendant’s

    Counsel shall provide Plaintiff’s Counsel with the last known telephone numbers contained in

    IHOP’s files, if any, for the Sub-Class Members.

               2.     Within fourteen (14) days of the Court’s Order, Plaintiff’s Counsel may attempt to

    contact each of the Sub-Class Members twice by telephone using the Agreed Call Script, included

    in Exhibit A.




1
    See Doc. No. 16.
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           3.         If the Sub-Class Member does not answer the telephone and the Sub-Class Member

has a working voicemail, Plaintiff’s Counsel may leave a voicemail, subject to the Agreed

Voicemail Script, included in Exhibit A.

             4.       If the Sub-Class Member indicates to Plaintiff’s Counsel that they wish to receive

  the approved Notice and Consent Form, Plaintiff’s Counsel shall send the approved Notice and

  Consent Form to the Sub-Class Member by the means requested by the Sub-Class Member.

             5.       Any Sub-Class member who wishes to opt into this current lawsuit must return a

  Consent Form, postmarked or received by Plaintiff’s Counsel, no later than twenty-one (21) days

  from the Court’s Order.

             6.       Within twenty-eight (28) days of the Court’s Order, Plaintiff’s Counsel shall file

  any signed Consent Forms received from the Sub-Class Members with the Court.

             7.       The Parties will conduct a scheduling conference, as described in their Joint Report

  (Doc. 13, at 2), no later than December 17, 2018.



                                               CONCLUSION

           The Parties respectfully request that the Court modify its Certification Order as described

above to attempt to ensure notice of this lawsuit is made to all Class Members.




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                                                   Respectfully submitted,

                                                       /s/ Shana Khader

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                                                    ATTORNEY FOR PLAINTIFF


                                                    AND


                                                    /s/ Kimberly S. Moore
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                                                    ATTORNEYS FOR DEFENDANT
                                                    RITRAN INC., d/b/a International House of
                                                    Pancakes


                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 21, 2018, a copy of the foregoing document was
electronically filed. Notice of this filing will be sent to all counsel of record by operation of the
Court’s Electronic Filing System.

                                                       s/ Shana Khader___


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                                          EXHIBIT A

Agreed Call Script

This is _______, calling from the Equal Justice Center. We represent a group of servers who
worked for IHOP in Rockwall, Texas. We have been authorized by the Court to send you a notice
to review. The initial notice we sent to you was returned as undeliverable. May we send you a
new notice? If yes, how would you like for us to send it to you?


Agreed Voicemail Script

This is _______, calling from the Equal Justice Center. We represent a group of servers who
worked for IHOP in Rockwall, Texas. We have been authorized by the Court to send you a notice
to review. The initial notice we sent to you was returned as undeliverable. If you would like for
us to send you a new notice, please call (469) 228-4233 to provide your current mailing address
no later than [17 days after the Court’s Order on the current motion].




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